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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


                                                          )
In re:                                                    ) Chapter 11
                                                          )
PES HOLDINGS,LLC,et                                       ) Case No. 19-11626(KG)
                                                          )
                                   Debtors.               ) (Jointly Administered)
                                                          )
                                                          ) Re: Docket Nos. 721,827

                                                        Objection Deadline: February 3,2020 at 4:00 p.m.(ET)
                                                              (unless extended by agreement with the Debtors)
                                                   Continued Hearing Date: February 12,2020 at 9:30 a.m.(ET)

                     NOTICE OF CONTINUED HEARING TO CONSIDER
             CONFIRMATION OF THE CHAPTER 11 PLAN FILED BY THE
           DEBTORS AND RELATED VOTING AND OBJECTION DEADLINES

                 PLEASE TAKE NOTICE THAT on December 11, 2019, the United States
Bankruptcy Court for the District of Delaware (the “Court”) entered an order (the “Disclosure
Statement Order”) (a) authorizing PES Holdings, LLC and its affiliated debtors and debtors in
possession (collectively, the “Debtors”), to solicit acceptances for the Joint Chapter 11 Plan of
PES Holdings, LLC and Its Debtor Affiliates (as modified, amended, or supplemented from time
to time, the “Plan”):^ (b)approving the Disclosure Statementfor the Joint Chapter 11 Plan of
PES Holdings, LLC and Its Debtor Affiliates (the “Disclosure Statement”) as containing
“adequate information” pursuant to section 1125 of the Bankruptcy Code; (c)approving the
solicitation materials and documents to be included in the solicitation packages (the “Solicitation
Packages”): and (d)approving procedures for soliciting, receiving, and tabulating votes on the
Plan and for filing objections to the Plan.

                 PLEASE TAKE FURTHER NOTICE that pursuant to the Notice ofHearing to
Consider Confirmation of the Chapter 11 Plan Filed by the Debtors and Related Voting and
Objection Deadlines [Docket No. 721](the “Notice) the hearing to consider Confirmation of the
Plan (the “Confirmation Hearing”) was scheduled to commence on February 6,2020 at 9:00 a.m.
prevailing Eastern Time, before the Honorable Kevin Gross, in the United States Bankruptcy
Court for the District of Delaware, located at 824 Market Street, 6th Floor, Courtroom No. 3,
Wilmington, Delaware 19801.




‘   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: PES Holdings, LLC(8157); North Yard GP,LLC(5458); North Yard Logistics, L.P.(5952); PES
    Administrative Services, LLC (3022); PES Energy Inc.(0661); PES Intermediate, LLC(0074);PES Ultimate
    Holdings, LLC(6061); and Philadelphia Energy Solutions Refining and Marketing LLC(9574). The Debtors’
    service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.

^   Capitalized terms not otherwise defined herein shall have the same meanings ascribed to them in the Plan.

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                 PLEASE TAKE EURTHER NOTICE that, on January 29, 2020, the Debtors
filed the Second Amended Joint Chapter 11 Plan ofPES Holdings, LLC and its Debtor Affiliates
[Docket No. 827](the “Second Amended Plan”). The Second Amended Plan remains subject to
continuing negotiations and review by the Debtors and all other parties-in-interest. The Debtors
reserve all rights to amend, modify, or supplement the Second Amended Plan. To the extent that
the Debtors make further revisions to the Second Amended Plan, the Debtors will present further
blacklined copies of such revised documents to the Court prior to or at the Confirmation Hearing.

                 PLEASE TAKE FURTHER NOTICE that the Court has continued the
Confirmation Hearing to February 12, 2020 at 9:30 a.m. prevailing Eastern Time (with
February 13, 2020 reserved if needed) before the Honorable Kevin Gross, in the United States
Bankruptcy Court for the District of Delaware, located at 824 North Market Street, 6th Floor,
Courtroom No. 3, Wilmington, Delaware 19801.

Dated; February 4, 2020            /s/ Laura Davis Jones

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